           Case 2:20-cv-00762-JCC-DWC Document 47 Filed 11/09/20 Page 1 of 2




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 7
                               UNITED STATES DISTRICT COURT
 8
                              WESTERN DISTRICT OF WASHINGTON
                                        AT TACOMA
 9

10      JON CHEETHAM, JANET
        CHEETHAM,                                       CASE NO. 2:20-CV-762-JCC-DWC
11
                               Plaintiffs,              AMENDED ORDER SETTING TRIAL
12                                                      DATE AND PRETRIAL SCHEDULE
                v.
13
        SPECIALIZED LOAN SERVICING
14      LLC, et al.,

15                             Defendants.

16
            The Court has reviewed the parties’ Stipulated Motion to Extend Trial Date and Related
17
     Deadlines. The Stipulated Motion (Dkt. 46) is granted and the Order Setting Trial Date and
18
     Pretrial Schedule is amended as follows:
19
            This case is scheduled for a five-day jury trial to begin on September 20, 2021 at 9:30
20
     a.m. before the Honorable John C. Coughenour, Courtroom 16206 with the following
21
     pretrial schedule:
22
                                      Event                                        Date
23
        Expert disclosures under Fed. R. Civ. P. 26(a)(2)                    January 5, 2021
24

     AMENDED ORDER SETTING TRIAL DATE AND
     PRETRIAL SCHEDULE - 1
           Case 2:20-cv-00762-JCC-DWC Document 47 Filed 11/09/20 Page 2 of 2




 1      Rebuttal expert disclosures                                             February 5, 2021

 2      Last date to file motions related to discovery                         February 19, 2021

 3      Discovery completed by                                                  March 16, 2021

 4      All dispositive motions must be filed by (see LCR 7(d))                   May 4, 2021

 5      Mediation per LCR 39.1(c), if requested by the parties, held no          July 19, 2021
        later than
 6      All motions in limine must be filed by this date and noted on the       August 24, 2021
        motion calendar no later than the THIRD Friday after filing.
 7
        Motions in limine raised in trial briefs will not be considered.
 8      Agreed LCR 16.1 Pretrial Order due                                     September 8, 2021
 9      Trial briefs, proposed voir dire, jury instructions, and exhibits by   September 10, 2021
10
        Pretrial conference                                                     To be set by the
                                                                                    Court
11
             All other portions of the Order Setting Trial Date and Pretrial Schedule (Dkt. 34) remain
12
     in full force and effect.
13
             Dated this 9th day of November, 2020.
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16                                                         David W. Christel
                                                           United States Magistrate Judge
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     AMENDED ORDER SETTING TRIAL DATE AND
     PRETRIAL SCHEDULE - 2
